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              CLERK’S COURTROOM MINUTE SHEET – CRIMINAL – MAGISTRATE JUDGE


UNITED STATES OF AMERICA,                                                         Case No: 21-40029-TC
                                                                                  AUSA: Christine Kenney
                        Plaintiff,                                                Defendant: David Magariel, AFPD
v.

WYATT TRAVNICHEK,
               Defendant.

 JUDGE:                          Judge Angel D. Mitchell      DATE:                           April 22, 2021
 DEPUTY CLERK:                   Heather Tildes               TAPE/REPORTER:                  FTR Network @ 1:47 pm
 INTERPRETER:                    _________________            PROBATION:                      Carly Feldhausen

                                                   PROCEEDINGS

 ☒ Initial Appearance – 8 min.         ☐ Initial Revocation Hearing              ☐ Bond Hearing
 ☐ Detention Hearing                   ☐ Initial Rule 5(c)(3)                    ☐ Bond Revocation Hearing
 ☒ Arraignment – 3 min.                ☐ Preliminary Hearing                     ☐ Status Conference
 ☐ Discovery Conference                ☐ Pretrial Conference                     ☐ In-Court Hearing

 ☐ Defendant sworn                     ☒ Examined re: financial status           ☒ Counsel appointed

 ☒ Charges and penalties explained to defendant                                  ☐ Advised of Due Process Protections Act
 ☒ Constitutional Rights Explained    ☒ Felony                                   ☐ Misdemeanor
 ☐ Declines to Waive Indictment       ☐ Will be presented to next Grand Jury
 ☐ Signed Waiver of Indictment        ☐ Information filed
 ☐ Advised of Rights Under Rule _______                                          ☐ Signed Consent to Transfer ______


 ☒ Waived Reading            ☐ Read to Defendant:          ☒ Indictment     ☐ Information        ☐ Complaint
 ☒ Number of Counts: 2       ☐ Guilty                      ☒ Not Guilty

 ☐ Bond Revoked                        ☐ Bail Fixed at: $_____________
 ☒ Release Order executed              ☐ Continued on present conditions         ☐ Remanded to Custody



 ☒ Case Management Order will be issued by Magistrate Judge Mitchell

 ☒ Scheduling and Status Conference: May 19, 2021 at 9:00 AM before Judge Crouse.




OTHER: Defendant appears in person and the court appoints the federal public defender to represent the defendant. The
court releases defendant on conditions of pretrial release with the conditions as stated on the record. Formal Order of
Conditions of Release to follow.
